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                         UNITED STATES D ISTRICT CO U RT
                         FO R THE D ISTRICT O F MARYLAN D


 JOSEPH ADDI, et al.,

                        Plaintiffs,
                                                                    Case No. 1:19-cv-03253-ELH
                v.

 CORVIAS MANAGEMENT-ARMY, LLC, et al.,

                        Defendants.




                    MOTION FOR LEAVE TO WITHDRAW AS COUNSEL


       Pursuant to Local Rule 101.2(a), Plaintiffs Addi et al., by and through their undersigned

counsel, respectfully request that this Court grant Lala R. Qadir leave to withdraw her

appearance as attorney of record in this matter. In support of this Motion, Addi et al. state as

follows:

               1.        On September 21, 2021, Lala R. Qadir departed her position at

Covington & Burling LLP.

               2.        As there are other attorneys of record appearing on behalf of Plaintiffs, no

notice has been sent.

       WHEREFORE, Plaintiffs Addi et al. respectfully request that the Court grant Lala

R. Qadir leave to withdraw as attorney of record in this action.
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Dated: September 21, 2021

                                 Respectfully submitted,


Sonya D. Winner (pro hac vice)                  /s/ Kevin B. Collins
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Salesforce Tower                              Benjamin C. Block (D. Md. No. 15811)
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 JOSEPH ADDI, et al.,

                       Plaintiffs,
                                                                Case No. 1:19-cv-03253-ELH
                  v.

 CORVIAS MANAGEMENT-ARMY, LLC, et al.,

                       Defendants.




                                            ORDER

        Having reviewed the Motion for Leave to Withdraw as Counsel for Plaintiffs Addi et al.

and receiving no objections, it is this _____ day of________________, 2021:

        ORDERED that the Motion for Leave to Withdraw as Counsel for Plaintiffs Addi et al. is

hereby GRANTED of Lala R. Qadir, and she is relieved of any and all further duties

in this matter.



                                                     ___________________________ _
                                                     Judge, United States District Court
                                                     for the District of Maryland
